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                                                                   CLERK U.S. BANKRUPTCY COURT
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7                           UNITED STATES BANKRUPTCY COURT

8                            CENTRAL DISTRICT OF CALIFORNIA

9                                   LOS ANGELES DIVISION

10
11
     In re:                                       Case No.: 2:20-bk-21022-BR
12
     GIRARDI KEESE,                               Chapter 7
13
                                                  MEMORANDUM OF DECISION ON ERIKA
14                                                GIRARDI’S “NOTICE OF MOTION AND
                                                  MOTION FOR RECONSIDERATION OF
15
                                                  ORDER GRANTING CHAPTER 7
16                                  Debtor(s).    TRUSTEE’S APPLICATION TO EMPLOY
                                                  THE LAW OFFICES OF RONALD
17                                                RICHARDS & ASSOCIATES, A.P.C. AS
18                                                SPECIAL LITIGATION COUNSEL”

19
              This matter is before the Court on the “Notice Of Motion And Motion For
20
     Reconsideration Of Order Granting Chapter 7 Trustee’s Application To Employ The Law
21
     Offices Of Ronald Richards & Associates, A.P.C. As Special Litigation Counsel”
22
     (“Motion” or “Reconsideration Motion”) filed by Erika Girardi on June 24, 2021 (Docket
23
     No. 437).
24
              Ms. Girardi’s Motion seeks reconsideration of the “Order Granting Chapter 7
25
     Trustee’s Application To Employ The Law Offices Of Ronald Richards & Associates,
26
     A.P.C. As Special Litigation Counsel” (“Employment Order”) entered by this Court on
27
     June 10, 2021 (Docket No. 392).
28




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1           Specifically, Ms. Girardi asks me to “reconsider [my] decision to grant the chapter
2    7 trustee’s application to employ Mr. Richards as special litigation counsel in this matter,
3    vacate the Employment Order and appoint new independent and non-conflicted counsel
4    to represent the trustee.” Motion, p. 2:15-18. She cites newly discovered evidence of
5    events occurring after the hearing on the application approving Mr. Richards’
6    employment and entry of the Employment Order as evidence of his lack of
7    independence and conflicts.
8           The newly discovered evidence apparently consists of recent allegedly “false and
9    inflammatory social media posts and public statements about Ms. Girardi” (Motion, p.
10   8:8-9) by Mr. Richards and his alleged failure to comply with bankruptcy disclosure
11   requirements by not disclosing his participation in a publicly-aired YouTube video
12   regarding Ms. Girardi, among other people, in his Employment Application.
13          Ms. Girardi further contends that Mr. Richards’ conduct has damaged the
14   legitimacy of these bankruptcy proceedings and unfairly prejudiced her rights, including
15   her right to a jury trial in any litigation prosecuted against her by Mr. Richards on the
16   trustee’s behalf.
17          I find the Motion totally without merit. It appears to be nothing more than a blatant
18   attempt by Ms. Girardi to impede Mr. Richards’ efforts on behalf of the trustee to
19   investigate allegedly fraudulent transfers of the debtor’s assets to Ms. Girardi and to
20   prosecute an action against her to recover those transfers for the benefit of the estate.
21          Background:
22          An involuntary chapter 7 case was filed against the debtor on December 18,
23   2020. Elissa D. Miller, Esq. was appointed chapter 7 trustee on January 6, 2021. Ms.
24   Miller filed an “Application to Employ the Law Offices of Ronald Richards & Associates,
25   A.P.C., as Special Litigation Counsel, Declaration of Ronald Richards; Statement of
26   Disinterestedness    of   Ronald   Richards    in   Support   Thereof”   (“Application”     or
27   “Employment Application”) on April 26, 2021 (Docket No. 318).
28          The Application sought to employ Mr. Richards as special litigation counsel for




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1    the limited purpose of representing the trustee in investigating and recovering assets of
2    the debtor that were allegedly transferred to Ms. Girardi, either directly or to other
3    people or entities on her behalf, or to other transferees of assets from her or her related
4    entities, and to file any proceedings and/or actions necessary to recover any such
5    transfers.
6            Peter J. Mastan, Esq. filed an opposition to the Application on Ms. Girardi’s
7    behalf on May 10, 2021 (Docket No. 333) and the trustee filed her reply to the
8    opposition on June 1, 2021 (Docket No. 374). I held a hearing on the Application on
9    June 8, 2021, during which I heard argument by the attorneys for the trustee and Ms.
10   Girardi and determined that Mr. Richards had no conflicts of interest that would preclude
11   his representation of the trustee as her special litigation counsel. I entered the
12   Employment Order on June 10, 2021. Evan C. Borges, Esq., new counsel for Ms.
13   Girardi, thereafter filed this Motion to reconsider the Employment Order on June 24,
14   2021.
15           In deciding this Motion, it is necessary to review the Employment Application that
16   was the subject of the hearing before me on June 8, 2021. Ms. Girardi’s opposition to
17   the Application argued that Mr. Richards had a direct conflict of interest in representing
18   the bankruptcy estate but presented no argument or authority for denying the
19   Application based on Tweets by Mr. Richards regarding Ms. Girardi and her husband,
20   Thomas Girardi. The following quotes from her opposition make it clear that she
21   believed I should issue a gag order limiting Mr. Richards’ out of court statements to the
22   public only if I were to approve the Application:
23                       D.    If the Court grants the Application, it should
                   issue a Gag Order
24
25                        If Mr. Richards is able to overcome his direct conflict
                   of interest in representing the bankruptcy estate, Erika
26                 hereby requests that this Court restrict Mr. Richards from
                   making any further extrajudicial comments about these
27                 proceedings.
28
     Opposition to Application, p. 9:9-12 (emphasis and italicization in original).




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1                   IV.    CONCLUSION
2                   For the reasons set forth above, the Court must deny the
                    Application. If the Court disagrees, the Court should restrict
3                   Mr. Richards’ direct or indirect out-of-Court statements to the
4                   public, except as narrowly permitted by the exceptions to
                    Rule of Conduct 3.6.
5
     Id. at 10:22-24 (emphasis and italicization in original).
6
            Despite the fact that I approved the Application at the June 8 hearing and made it
7
     clear at that time that I would not limit Mr. Richards’ First Amendment rights, Ms.
8
     Girardi, through her new attorney Mr. Borges, now makes meritless arguments
9
     including, inter alia, that numerous new alleged Tweets1 should somehow disqualify Mr.
10
     Richards from representing the chapter 7 trustee. The fact that Ms. Girardi has new
11
     counsel does not allow her to ignore what occurred at the June 8 hearing and
12
     improperly rehash arguments from her opposition to the Employment Application.
13
            I have carefully reviewed the Reconsideration Motion and the attached
14
     declaration of her counsel; all oppositions, declarations, and replies; and all evidentiary
15
     objections2 filed by the parties to the various declarations. As stated in the introductory
16
     section above, I find the Motion totally without merit and accordingly issue this
17
     Memorandum to explain my denial of the Motion.
18
            Discussion:
19
            Ms. Girardi seeks reconsideration of the Employment Order under Fed. R. Civ.
20
     Proc. 59(e) and/or 60, which apply to bankruptcy proceedings under Fed. R. Bankr. P.
21
     9023 and 9024, respectively. Rule 59(e) allows reconsideration solely based on (1)
22
     newly discovered evidence, (2) a clear error of fact or law by the court, or (3) an
23
     intervening change in controlling law. Fed. R. Civ. P. 59(e); Fed. R. Bankr. P. 9023.
24
25
     1
            I have sustained the evidentiary objections regarding the substance of the alleged
26   Tweets. Nevertheless, I will discuss the issue of the Tweets for the sake of a complete record.
27   My rulings on the parties’ evidentiary objections to the declarations filed in connection with this
     matter are set forth in Exhibit “A” attached to this Memorandum of Decision.
28   2
           See Exhibit “A” for all of my rulings on the parties’ evidentiary objections filed in
     connection with this matter.



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1           Alternatively, Fed. R. Civ. P. 60(b) allows reconsideration based on a showing of
2    (1) mistake, surprise, excusable neglect, (2) newly discovered evidence, (3) fraud, (5) a
3    void judgment, (3) a satisfied or discharged judgment, or (6) “extraordinary
4    circumstances” which would justify relief. Fed. R. Civ. P. 60(b); Fed. R. Bankr. P. 9024.
5           A. Ms. Girardi’s standing to file the Motion
6           Both the chapter 7 trustee and her special litigation counsel argue that Ms.
7
     Girardi lacks standing to have even filed the Motion in the first place. They argue that
8
     she is not a “person aggrieved” who has any pecuniary interest that would be adversely
9
     affected by the Employment Order, because she has neither filed a proof of claim in the
10
11   case nor has she ever claimed to be a creditor of the estate. They also argue that she

12   cannot establish standing simply because she is a defendant in a pending lawsuit that
13   has been filed against her by Mr. Richards on the trustee’s behalf which seeks to
14
     recover alleged fraudulent transfers of estate funds to Ms. Girardi.3
15
            I agree that Ms. Girardi’s standing to bring this Motion is questionable at best. At
16
17   the June 8 hearing on the trustee’s Application to employ Mr. Richards, I expressed

18   some question as to whether Ms. Girardi had standing to file her opposition but
19   assumed for the sake of that Application alone that she did. I have applied that
20
     assumption solely for this Motion as well.
21
            B. Newly-discovered public statements and social media posts allegedly violated
22
               ethical standards
23
            Ms. Girardi’s argument, under either Fed. R. Civ. P. 59(e) or Fed. R. Civ. P.
24
     60(b), focuses primarily on “newly discovered” evidence of statements and postings
25
     made by Mr. Richards on Twitter after the hearing on the Employment Application and
26
27
28
     3        See Adv. No. 2:21-ap-01155 BR (Elissa D. Miller, Chapter 7 Trustee v. Erika Girardi,
     etc., et al.).




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1    the entry of the Employment Order that allegedly violated any number of ethical norms.4
2           She contends that “Following this Court’s ruling set forth in the Order, Mr.
3    Richards continued unabated in a jihad of extra-judicial statements, including social
4    media posts and interviews on YouTube and podcasts, virtually always making
5    reference to his new role as special counsel to the Trustee.” Motion, p. 10:20-22. She
6    further contends that “[Mr. Richards] solicited his position as special counsel, and is
7    commencing and continuing his vendetta against Ms. Girardi through some strange
8    obsession with her and this case.” Id., p. 17:3-5.
9           Ms. Girardi argues that these “public comments about a pending investigation
10   violate California Business and Professions Code § 6068” (Motion, p. 16:7-8). She
11   describes the duties of a California attorney under Cal. Bus. & Prof. Code § 6068 as
12   including the following:
13                  (b) To maintain the respect due to the courts of justice and
                    judicial officers.
14                  …
15
                    (f) To advance no fact prejudicial to the honor or reputation
16                  of a party or witness…. [and]

17                  (g) Not to encourage either the commencement or the
                    continuance of an action or proceeding from any corrupt
18
                    motive of passion or interest.
19
     Citing Cal. Bus. & Prof. Code § 6068 (emphasis added [in Motion]).
20
            In addition, Ms. Girardi asserts that “Most importantly, Rule 3.6 of the California
21
     Rules of Professional Conduct “restricts an attorney’s ability to comment publicly about
22
     an ongoing litigation or investigation.” (Motion, p. 16:19-20.) She cites Rule 3.6 as
23
     stating, in pertinent part, that:
24
                    [a] lawyer who is participating or has participated in the
25                  investigation of a matter shall not make an extrajudicial
                    statement that the lawyer knows or reasonably should know
26
27   4
             Exhibit A attached to the Reconsideration Motion consists of a compilation of various
28   social media posts about Ms. Girardi made on Mr. Richards’ Twitter account. The Court notes
     that it has ruled that this compilation is inadmissible. See Evidentiary Rulings attached as
     Exhibit A to this Memorandum.



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1                  will (i) be disseminated by means of public communication
                   and (ii) have a substantial likelihood of materially prejudicing
2                  an adjudicative proceeding in the matter.
3
     Citing California Rule of Professional Conduct 3.6 (Motion, p. 16:23-26).
4
            In her opposition to the Motion, the chapter 7 trustee argues that Cal. Bus. &
5
     Prof. Code § 6068 and Rule 3.6 of the California Rules of Professional Conduct are
6
     irrelevant in the context of a reconsideration motion, because purported evidence of
7
     alleged violations of those rules is not evidence of an actual conflict of interest under §§
8
     327(c) and (e) of the Bankruptcy Code which govern a professional’s employment and
9
     under which the Court granted the Employment Application.
10
            The trustee argues that a court is required to reconsider whether actual conflicts
11
     exist rather than whether there were purported violations of rules governing attorney
12
     conduct. She points out that the Motion does not argue the existence of actual conflicts
13
     of interest, but instead merely reiterates arguments made at the end of her original
14
     opposition to the Employment Application that Mr. Richards should not be allowed to
15
     publicly comment about her if the Court were to grant the Application. She now also
16
     argues that such out of court statement warrant his disqualification.
17
            In his opposition on the trustee’s behalf, Mr. Richards similarly argues that the
18
     statutory provisions cited by Ms. Girardi do not apply to this matter. By way of example,
19
     he contends that Cal. Bus. & Prof. Code § 6068 is intended to ensure respect to the
20
     court, rather than use by a litigant to complain about adverse publicity.
21
            He further contends that Ms. Girardi’s claims that his tweets violated § 6068
22
     because they were improperly hostile to her do not apply, that she failed to submit any
23
     evidence that the subject tweets contained false information, and the fact that she may
24
     not like the contents of the disputed tweets fails to substantiate her claims of ethical
25
     violations by him.
26
            Mr. Richards’ opposition on behalf of the trustee included a declaration (Docket
27
     No. 498-2) by attorney Erin Joyce, a former State Bar prosecutor in the Office of the
28
     Chief Trial Counsel of the State Bar of California for over 18 years, in which she stated




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1    her professional opinion with respect to whether or not Mr. Richards’ conduct
2    constituted violations of any ethical norms and, in particular, the specific Rules cited by
3    Ms. Girardi.
4           I agree with the above arguments made by the trustee and her special litigation
5    counsel, as well as with certain admissible statements5 in Ms. Joyce’s supporting
6    declaration which express her professional opinion, based on her years of experience
7    as a State Bar prosecutor, that Mr. Richards’ conduct failed to violate any ethical rules.
8    For example, Ms. Joyce declared that: “I have reviewed the Motion, and the serious but
9    unsupported allegations against Mr. Richards made in the Motion, and it is my
10   unequivocal opinion that Mr. Richards, acting as Special Litigation Counsel . . .
11   committed no ethical misconduct as alleged.” Joyce Decl., ¶ 6, p. 3:14-16.
12          Ms. Joyce testified that she reviewed many complaints concerning purported
13   ethical violations during her years’ long career as a State Bar prosecutor and found Ms.
14   Girardi’s complaint meritless: “Having reviewed many motions seeking disqualification in
15   my previous role as prosecutor for the State Bar Court, I believe counsel for Ms.
16   Girardi’s Motion is frivolous, lacks merit, and was filed for the improper purpose of
17   harassing Mr. Richards and causing undue delay.” Joyce Decl., ¶ 7, p. 3:24-27. Based
18   on her review of the Motion, she believed that in this instance “The motion’s premise is
19   based upon a faulty assumption that attorneys may not comment on cases.” Joyce
20   Decl., ¶ 6, p. 3:19-20.
21          Ms. Joyce concluded that Mr. Richards’ conduct did not violate any ethical rules
22   or norms: “It is my opinion that Mr. Richards is not in violation of California Rules of
23   Professional Conduct, Rule 3.6, in whole or in part, nor is he in violation of Business
24   and Professions Code section 6068, in whole or in part.” Joyce Decl., ¶ 15, p.6:17-19).
25          In sum, the arguments of trustee and her special litigation counsel and the
26
27
28
     5      The Court ruled certain statements in Ms. Joyce’s declaration to be admissible and other
     statements to be inadmissible pursuant to the Federal Rules of Evidence. The statements
     quoted in this Memorandum are exclusively ones that I deemed admissible. See Exhibit A.



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1    statements by Ms. Joyce fully support my conclusion that Mr. Richards’ conduct failed to
2    constitute any ethical violations that would disqualify him from representing the trustee
3    as her special litigation counsel.
4           C. Failure to disclose participation in a YouTube video allegedly violated federal
5               bankruptcy disclosure obligations
6           In addition to her complaints about Mr. Richards’ interviews and Twitter posts,
7    Ms. Girardi also points to his involvement in public interviews as additional evidence of
8    ethical violations. She focuses particular attention on his participation in a YouTube
9    video documentary about Girardi Keese, Thomas Girardi and Ms. Girardi that also
10   included Kimberly Archie, one of the petitioning creditors in this case. She contends that
11   his failure to include information about the YouTube interview in his Employment
12   Application violated his disclosure obligations under Fed. R. Bankr. P. 2014. Again, I
13   find this argument of Ms. Girardi meritless.
14          Rule 2014 provides that an application to employ counsel “shall be accompanied
15   by a verified statement of the person to be employed setting forth the person’s
16   connections with the debtor, creditors, or any other party in interest . . .” Fed. R. Bankr.
17   P. 2014(a). The trustee argues that her special litigation counsel’s firm, the Richards
18   Firm, and her counsel, Ronald Richards, fully disclosed their representation of other
19   creditors, have repeatedly agreed not to pursue certain claims of these creditors that
20   belong to the estate, and that this Court recognized their agreements not to do so at two
21   hearings and in two separate orders.6
22          The trustee disagrees with Ms. Girardi’s assertion that the inclusion of petitioning
23   creditor Kimberly Archie in the YouTube video constituted newfound evidence of an
24   inappropriate “connection” with the Richards Firm which should have been disclosed.
25
26   6
              The orders referred to consist of the Order Granting Chapter 7 Trustee’s Application To
     Employ The Law Offices Of Ronald Richards & Associates, A.P.C. As Special Counsel entered
27
     by the Court on June 10, 2021 in the main case (Docket No. 392), and the Order Granting
28   Plaintiffs’ Motion For Remand entered by the Court on May 13, 2021 in the adversary
     proceeding docket in case no. 2:21-ap-01039 BR (Docket No. 31). Copies of these orders are
     attached as Exhibits 2 and 3 to the trustee’s opposition to the Motion.



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1    The trustee points out that Mr. Richards did not know that Ms. Archie was being
2    interviewed in the same documentary until after it aired and his Firm could not have
3    disclosed a fact of which it had no knowledge, and that the Motion failed to provide any
4    evidence of such knowledge at the time the Firm filed the Employment Application.
5           The trustee also asserts that the Firm never had any legal, personal or business
6    relationship with Ms. Archie, that Ms. Girardi’s definition of “connection” is overly broad, 7
7    that she fails to explain how any such alleged “connection” threatens the estate or
8    compromises the Firm’s duty to properly represent the estate, and that she has no right
9    in any event to infringe on the trustee’s right to her choice of counsel.
10          Mr. Richards’ opposition on the trustee’s behalf argues that he was not required
11   to discuss an unaired8 television interview in his Firm’s Employment Application. He
12   asserts that her Rule 2014 argument fails to take into account the relevance limitation
13   imposed on the scope of disclosure for a special counsel appointment under § 327(e),
14   as there is no duty under that subsection to disclose each and every representation of
15   the debtor where there is no relation to the special matter for which representation is
16   sought.
17          Mr. Richards contends that the statutory provision of the Code governing
18   employment as trustee’s counsel under § 327(a) requires a showing of both
19   “disinterestedness” and a lack of “adverse interest,” whereas employment as special
20
21
22   7
             In this regard, the trustee cites to a discussion of “connection” under 2014(a) in a leading
     treatise, which states that:
23
                    The term “connection” is an unfortunate one. Arguably two people
24                  are "connected" if they serve together on a charitable board or are
                    even friends…The "connections" cited by the courts run to fee
25                  sharing arrangements and the like that might affect the court's
                    decision to approve the employment.
26
27   Citing 9 Collier on Bankruptcy ¶ 2014.05 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.).

28
     8       In his declaration attached to the opposition, Mr. Richards states that his portion of the
     interview was not aired on television (i.e., it was deleted from the documentary prior to its
     release to the public).



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1    counsel under § 327(e) requires only a showing of “no adverse interest.” He affirms that
2    he does not know Ms. Archie and has had no legal relationship with her and argues that
3    the Motion accordingly fails to present any evidence that he has any adverse interest to
4    the debtor or to the estate with respect to the matters for which he has been employed.
5           Ms. Joyce’s professional opinion is instructive in this regard as well. As she
6    succinctly states in two paragraphs of her declaration: “To suggest an attorney who is
7    on a case cannot publicly comment on public filings in the case is ludicrous, and any
8    suggestion that such conduct is against the law is disingenuous.” (Joyce Decl., ¶16, p.
9    7:14-16); and “Mr. Richards committed no breach of ethical duties pursuant to either the
10   State Bar Act or the California Rules of Professional Conduct. He should be allowed to
11   remain Special Counsel.” Joyce Decl., ¶35, p. 12:15-17. Her opinion fully comports with
12   my conclusion on this issue.
13          Again, I agree with the arguments of the trustee and her special litigation
14   counsel. There was, simply stated, nothing for Mr. Richards to disclose and, especially,
15   no duty to disclose his involvement in a video interview that did not air until after entry of
16   the Employment Order and in which he had no knowledge that a creditor of the estate
17   was involved.9
18          D. Alleged prejudice of newly discovered public statements and social media
19             posts on any future jury pool against Ms. Girardi
20          Ms. Girardi argues that Mr. Richards’ public media statements about her
21   prejudice her rights through “public vilification . . . [which] appear intentionally designed
22   to destroy [her] right to defend herself and assert her rights in this proceeding.” Motion,
23   p. 2:22-23. She believes that “a significant likelihood exists that Mr. Richards’ barrage of
24   social media postings and public statements will improperly prejudice any potential jury
25   pool.” Id. at p. 8:23-25; see also p. 18:1-7.
26          I find this argument speculative at best given the sheer size of a potential jury
27
28   9
           I sustained the evidentiary objections to the evidence by Ms. Girardi regarding this
     “connection.” See Exhibit “A” to this Memorandum of Decision.



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1    pool in the County of Los Angeles, which currently has a population of approximately
2    ten million people. Any trial judge will ensure through the voir dire process that all
3    individuals who may be selected for a jury will lack knowledge of or interest in any pre-
4    trial publicity, such as the type that Ms. Girardi complains of here.
5           In addition, I find Ms. Girardi’s jury pool “contamination” argument against Mr.
6    Richards’ employment improper. It lacks any basis in fact or in law as a ground for
7    reconsideration of the Employment Order, and she failed to raise the argument in her
8    opposition to the Employment Application. It is inappropriate for her to raise this issue
9    for the first time in the context of this Reconsideration Motion.
10          Conclusion:
11          This is a chapter 7 case in which a significant amount of assets may be
12   recoverable for the benefit of the estate’s creditors. One of a chapter 7 trustee’s primary
13   and most important duties is the collection of funds which may ultimately be disbursed
14   to creditors. A trustee should not be forced to uselessly waste time and resources
15   arguing about whether or not counsel for the trustee should be disqualified for allegedly
16   having said hurtful things about a person on the internet or through social media.
17          Unfortunately, that is what seems to be happening in this case. Ms. Girardi goes
18   to great lengths to belabor her allegations that Mr. Richards did not fully disclose prior
19   dealings and made inappropriate extra-judicial statements on social media. The media
20   communications of which she complains, however, pose no ethical or legal obstacle to
21   Mr. Richards’ continued service as the trustee’s special litigation counsel.
22          The chapter 7 trustee must not be diverted from her responsibility to promptly
23   and efficiently administer the estate for the benefit of creditors, including the prosecution
24   of litigation that may be necessary to uphold her fiduciary duties. In particular, her
25   efforts must not be impeded by a defendant in one of the trustee’s actions to avoid and
26   recover transfers of estate assets.
27          Ms. Girardi’s complaints notwithstanding, I find no conflicts of interest on Mr.
28   Richards’ part and consequently no reason to reconsider its Employment Order.




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1    Accordingly, I will enter a separate order denying the Motion concurrently with the entry
2    of this Memorandum of Decision.
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1
2
                                    EXHIBIT A
3
4
5
          COURT’S RULINGS ON EVIDENTIARY
6
        OBJECTIONS FILED IN CONNECTION WITH
7
       ERIKA GIRARDI’S “NOTICE OF MOTION AND
8
       MOTION FOR RECONSIDERATION OF ORDER
9
           GRANTING CHAPTER 7 TRUSTEE’S
10
      APPLICATION TO EMPLOY THE LAW OFFICES
11
      OF RONALD RICHARDS & ASSOCIATES, A.P.C.
12
          AS SPECIAL LITIGATION COUNSEL”
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1    1.    a.     “Chapter 7 Trustee’s Evidentiary Objections To The Declaration Of Evan C.
     Borges And Exhibits 1 And 2 Attached Thereto In Support Of Motion For Reconsideration”
2    (Docket No. 497) filed by Elissa D. Miller, Chapter 7 Trustee.
3           b.      “Response To Chapter 7 Trustee Trustee’s Evidentiary Objections To The
     Declaration Of Evan C. Borges And Exhibits 1 and 2 Attached Thereto In Support Of Motion
4    For Reconsideration” [Related To ECF No. 497] (Docket No. 513) filed by Party-in-Interest
     Erika Girardi.
5
6     Obj       Borges Declaration:             Trustee Objection:            Borges Response:               Ruling:
        #
7     (pg:
     line)
8    #1.     “Attached hereto as Exhibit 1   Fed. R. Evid. 401, 402,       Exhibit 1 is authenticated       [X ]
     ¶2      is a compilation of tweets      403, 701, 702. There is       by testimony of Mr.              sustained
     22:9-   from     Ronald     Richards    neither foundation nor        Borges, counsel to Ms.
9    11      regarding this proceeding       personal knowledge for        Girardi who can testify          []
             and individuals involved in     declarant’s     assertions.   based on his personal            overruled
10           this proceeding from his        The     statements     and    knowledge that Exhibit 1 is
             Twitter account dating back     exhibit 1 are inadmissible    a "a compilation of tweets
11           to June 2, 2021.”               hearsay.                      from Ronald Richards."
                                                                           See Borges Decl., ¶2;
12                                                                         Evid.    Code,       §    702.
                                                                           Accordingly, Mr. Borges is
13                                                                         competent to testify as to
                                                                           the description of the
14                                                                         exhibit. See Evid. Code,§
                                                                           701. Further, there is
15                                                                         sufficient evidence and
                                                                           foundation has been laid
16                                                                         to find that the proffered
                                                                           images are what they
17                                                                         purport to be, namely, a
                                                                           compilation of tweets from
18                                                                         Mr. Richards regarding
                                                                           this proceeding and the
19                                                                         individuals involved in this
                                                                           proceeding. See Evid.
20                                                                         Code,          §          1400
                                                                           ["Authentication       of    a
21                                                                         writing means (a) the
                                                                           introduction of evidence
22                                                                         sufficient to sustain a
                                                                           finding that it is the writing
23                                                                         that the proponent of the
                                                                           evidence claims it is"].)
24                                                                         The attached tweets are
                                                                           highly relevant and critical
25                                                                         to the determination of
                                                                           whether     Mr.      Richards
26                                                                         violated Rules 3.6 and 4.2
                                                                           of the California Rules of
27                                                                         Professional Conduct and
                                                                           Section 6068 of the
28                                                                         California Business and
                                                                           Professions Code. Finally,




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1     Obj       Borges Declaration:             Trustee Objection:            Borges Response:               Ruling:
       #
2    (pg:
     line)
3                                                                          Mr. Richards's statements
                                                                           are not hearsay as they
4                                                                          are not being offered to
                                                                           prove the truth of the
5                                                                          matter asserted. Fed. R.
                                                                           Evid. 80l (c)(2).
6
     #2.     “As of today’s date, Mr.        Fed. R. Evid. 401, 402,       Mr. Borges, counsel to Ms.       [X]
7    ¶3      Richards’s profile on his       403, 701, 702 There is        Girardi can testify based        Sustained
     22:1    Twitter            account,     neither foundation nor        on his personal knowledge
8    2-13    @RonaldRichards,       now      personal knowledge for        that on the date of his          []
             states that he has over         declarant’s assertions.       declaration Mr. Richards         overruled
9            16,000 followers.”                                            had over 16,000 followers
                                                                           on Twitter. See Borges
10                                                                         Decl., ¶3; Evid. Code,§
                                                                           702. The number of
11                                                                         followers Mr. Richards has
                                                                           relevant to demonstrate
12                                                                         his attacks against Ms.
                                                                           Girardi create a cognizable
                                                                           injury.
13
     #3.     “Attached hereto as Exhibit 2   Fed. R. Evid. 401, 402,       Exhibit 2 is authenticated       [X]
14   ¶4      is a compilation of tweets      403, 701, 702. There is       by testimony of Mr.              Sustained
     22:1    from Scott Hanson regarding     nothing     to    lay   the   Borges, counsel to Ms.
15   4-16    this     proceeding     and     foundation for these out      Girardi who can testify          []
             individuals involved in this    of    court     statements.   based on his personal            overruled
16           proceeding from his Twitter     There is no evidentiary       knowledge that Exhibit 2 is
             account dating back to June     support and declarant         a "a compilation of tweets
17           13, 2021.”                      cannot testify as to what     from Scott Hanson." (See
                                             a third party said out of     Borges Decl., ¶4; Evid.
18                                           court. This is inadmissible   Code, § 702.) Accordingly,
                                             hearsay.                      Mr. Borges is competent to
19                                                                         testify as to the description
                                                                           of the exhibit. See Evid.
20                                                                         Code, § 701. Further,
                                                                           there is sufficient evidence
21                                                                         and foundation has been
                                                                           laid to find that the
22                                                                         proffered images are what
                                                                           they purport to be, namely,
23                                                                         a compilation of tweets
                                                                           from Mr. Hanson regarding
24                                                                         this     proceeding       and
                                                                           individuals involved in this
25                                                                         proceeding. See Evid.
                                                                           Code,          §         1400
26                                                                         ["Authentication      of     a
                                                                           writing means (a) the
27                                                                         introduction of evidence
                                                                           sufficient to sustain a
28                                                                         finding that it is the writing
                                                                           that the proponent of the




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1     Obj       Borges Declaration:            Trustee Objection:            Borges Response:             Ruling:
       #
2    (pg:
     line)
3                                                                         evidence claims it is"].)
                                                                          The attached tweets are
4                                                                         relevant         to     the
                                                                          determination of whether
5                                                                         Mr. Richards violated Rule
                                                                          3.6 of the California Rules
6                                                                         of Professional Conduct
                                                                          and Section 6068 of the
7                                                                         California Business and
                                                                          Professions Code. Finally,
8                                                                         Mr. Hanson's statements
                                                                          are not hearsay as they
9                                                                         are not being offered to
                                                                          prove the truth of the
10                                                                        matter asserted. Fed. R.
                                                                          Evid. 80l(c)(2).
11
     #4.     “The YouTube Interview         Fed. R. Evid. 401, 402,       25       Mr.         Borges,   [X]
12   ¶5      referenced in the tweet from   403, 701, 702. There is       counsel to Ms. Girardi can     Sustained
     22:1    Mr. Richards dated June 16,    nothing     to    lay   the   testify based on his
     7-20    2021, which is cited in the    foundation for these out      personal knowledge that        []
13           motion accompanying this       of    court     statements.   the YouTube video cited in     overruled
             Declaration, appeared on a     There is no evidentiary       the motion can be found at
14           YouTube channel called “Up     support and declarant         the identified link. See
             and Adam!” with a URL link     cannot testify as to what     Borges Decl., ¶5; Evid.
15           that can be accessed at:       a third party said out of     Code, § 702. Further,
             https://www.youtube.com/       court. This is inadmissible   there is sufficient evidence
16           watch?v=SIFk3-hoVU8.”          hearsay.                      and foundation has been
                                                                          laid to find that the
17                                                                        proffered URL link are is
                                                                          what it purports to be,
18                                                                        namely,       a     YouTube
                                                                          interview referenced in a
19                                                                        tweet from Mr. Richards
                                                                          dated June 16, 2011. The
20                                                                        YouTube video is relevant
                                                                          to the determination of
21                                                                        whether      Mr.    Richards
                                                                          violated Rules 3.6 and 4.2
22                                                                        of the California Rules of
                                                                          Professional Conduct and
23                                                                        Section 6068 of the
                                                                          California Business and
24                                                                        Professions Code.

25
26
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28




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1
     2.    a.     “Chapter 7 Trustee’s Evidentiary Objections To The Declaration Of Evan C.
2    Borges And Exhibits 1 And 2 Attached Thereto In Support Of Motion For Reconsideration”
     (Docket No. 499) filed by Special Counsel for Elissa D. Miller, Chapter 7 Trustee.
3
            b.      “Response To Chapter 7 Trustee Trustee’s Evidentiary Objections To The
4    Declaration Of Evan C. Borges And Exhibits 1 and 2 Attached Thereto In Support Of Motion
     For Reconsideration” [Related To ECF No. 499] (Docket No. 513) filed by Party-in-Interest
5
     Erika Girardi.
6
      Obj       Borges Declaration              Special Counsel               Borges Response:              Ruling:
7       #                                         Objection:
      (pg:
8    line)
     #1.     “Attached hereto as Exhibit    Fed. R. Evid. 401, 402,       Exhibit 1 is authenticated       [X]
9    ¶2      1 is a compilation of tweets   403, 701, 702. There is       by testimony of Mr. Borges,      Sustained
     22:9-   from     Ronald    Richards    neither foundation nor        counsel to Ms. Girardi who
10   11      regarding this proceeding      personal knowledge for        can testify based on his         []
             and individuals involved in    declarant’s     assertions.   personal knowledge that          overruled
11           this proceeding from his       The     statements     and    Exhibit 1 is a "a compilation
             Twitter account dating back    exhibit 1 are inadmissible    of tweets from Ronald
             to June 2, 2021.”              hearsay.                      Richards." See Borges
12                                                                        Decl., ¶2; Evid. Code, §
                                                                          702.     Accordingly,      Mr.
13                                                                        Borges is competent to
                                                                          testify as to the description
14                                                                        of the exhibit. See Evid.
                                                                          Code,§ 701. Further, there
15                                                                        is sufficient evidence and
                                                                          foundation has been laid to
16                                                                        find that the proffered
                                                                          images are what they
17                                                                        purport to be, namely, a
                                                                          compilation of tweets from
18                                                                        Mr. Richards regarding this
                                                                          proceeding         and     the
19                                                                        individuals involved in this
                                                                          proceeding.       See    Evid.
20                                                                        Code,           §        1400
                                                                          ["Authentication of a writing
21                                                                        means (a) the introduction
                                                                          of evidence sufficient to
22                                                                        sustain a finding that it is
                                                                          the     writing     that   the
23                                                                        proponent of the evidence
                                                                          claims it is"].) The attached
24                                                                        tweets are highly relevant
                                                                          and      critical     to   the
25                                                                        determination of whether
                                                                          Mr. Richards violated Rules
26                                                                        3.6 and 4.2 of the California
                                                                          Rules      of     Professional
27                                                                        Conduct and Section 6068
                                                                          of the California Business
28                                                                        and Professions Code.
                                                                          Finally,     Mr.    Richards's




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1     Obj       Borges Declaration              Special Counsel               Borges Response:              Ruling:
       #                                          Objection:
2    (pg:
     line)
3                                                                         statements are not hearsay
                                                                          as they are not being
4                                                                         offered to prove the truth of
                                                                          the matter asserted. Fed.
5                                                                         R. Evid. 80l (c)(2).
     #2.     “As of today’s date, Mr.       Fed. R. Evid. 401, 402,       Mr. Borges, counsel to Ms.       [X]
6    ¶3      Richards’s profile on his      403, 701, 702 There is        Girardi can testify based on     Sustained
     22:1    Twitter            account,    neither foundation nor        his personal knowledge that
7    2-13    @RonaldRichards,       now     personal knowledge for        on the date of his               []
             states that he has over        declarant’s assertions.       declaration Mr. Richards         overruled
8            16,000 followers.”                                           had over 16,000 followers
                                                                          on Twitter. See Borges
9                                                                         Decl., ¶3;      Evid. Code,§
                                                                          702.     The     number     of
10                                                                        followers Mr. Richards has
                                                                          relevant to demonstrate his
11                                                                        attacks sgainst Ms. Girardi
                                                                          create a cognizable injury.
12   #3.     “Attached hereto as Exhibit    Fed. R. Evid. 401, 402,       Exhibit 2 is authenticated       [X]
     ¶4      2 is a compilation of tweets   403, 701, 702. There is       by testimony of Mr. Borges,      Sustained
13   22:1    from      Scott     Hanson     nothing     to    lay   the   counsel to Ms. Girardi who
     4-16    regarding this proceeding      foundation for these out      can testify based on his         []
             and individuals involved in    of    court     statements.   personal knowledge that          overruled
14           this proceeding from his       There is no evidentiary       Exhibit 2 is a "a compilation
             Twitter account dating back    support and declarant         of tweets from Scott
15           to June 13, 2021.”             cannot testify as to what     Hanson."      (See     Borges
                                            a third party said out of     Decl., ¶4; Evid. Code, §
16                                          court. This is inadmissible   702.)     Accordingly,    Mr.
                                            hearsay.                      Borges is competent to
17                                                                        testify as to the description
                                                                          of the exhibit. See Evid.
18                                                                        Code, § 701. Further, there
                                                                          is sufficient evidence and
19                                                                        foundation has been laid to
                                                                          find that the proffered
20                                                                        images are what they
                                                                          purport to be, namely, a
21                                                                        compilation of tweets from
                                                                          Mr. Hanson regarding this
22                                                                        proceeding and individuals
                                                                          involved in this proceeding.
23                                                                        See Evid. Code, § 1400
                                                                          ["Authentication of a writing
24                                                                        means (a) the introduction
                                                                          of evidence sufficient to
25                                                                        sustain a finding that it is
                                                                          the     writing    that    the
26                                                                        proponent of the evidence
                                                                          claims it is"].) The attached
27                                                                        tweets are relevant to the
                                                                          determination of whether
28                                                                        Mr. Richards violated Rule
                                                                          3.6 of the California Rules




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1     Obj       Borges Declaration             Special Counsel               Borges Response:            Ruling:
       #                                         Objection:
2    (pg:
     line)
3                                                                        of Professional Conduct
                                                                         and Section 6068 of the
4                                                                        California Business and
                                                                         Professions Code. Finally,
5                                                                        Mr. Hanson's statements
                                                                         are not hearsay as they are
6                                                                        not being offered to prove
                                                                         the truth of the matter
7                                                                        asserted. Fed. R. Evid.
                                                                         80l(c)(2).
8    #4.     “The YouTube Interview        Fed. R. Evid. 401, 402,       Decl., ¶5; Evid. Code, §       [X]
     ¶5      referenced in the tweet       403, 701, 702. There is       702. Further, there is         Sustained
9    22:1    from Mr. Richards dated       nothing     to    lay   the   sufficient evidence and
     7-20    June 16, 2021, which is       foundation for these out      foundation has been laid to    []
10           cited    in   the   motion    of    court     statements.   find that the proffered URL    overruled
             accompanying           this   There is no evidentiary       link are is what it purports
11           Declaration, appeared on a    support and declarant         to be, namely, a YouTube
             YouTube channel called        cannot testify as to what     interview referenced in a
12           “Up and Adam!” with a URL     a third party said out of     tweet from Mr. Richards
             link that can be accessed     court. This is inadmissible   dated June 16, 2011. The
             at:                           hearsay.                      YouTube video is relevant
13           https://www.youtube.com/w                                   to the determination of
             atch?v=SIFk3-hoVU8.”                                        whether      Mr.    Richards
14                                                                       violated Rules 3.6 and 4.2
                                                                         of the California Rules of
15                                                                       Professional Conduct and
                                                                         Section     6068    of   the
16                                                                       California Business and
                                                                         Professions Code.
17
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1
     3.      a.     “Evidentiary Objections To The Declaration Of Erin Joyce In Support Of Motion
2    For Reconsideration Of Order Appointing Special Litigation Counsel” (Docket No. 512) filed by
     Party-in-Interest Erika Girardi.
3
             b.       No response was filed to Docket No. 512.
4
           Material Objected To In                   Grounds For Objection                   Ruling On Objection
5          Erin Joyce Declaration
     [“I have reviewed the Motion, and       Speculative (In re Silicone Gel Breast       Sustained: ___________
6    the serious but unsupported             Implants Prods. Liability Litig., 318
     allegations against Mr. Richards        F.Supp.2d 879,890 (C.D. Cal. 2004).          Overruled: _____X_____
7    made in the Motion, and it is my
     unequivocal opinion that Mr.            Argumentative (In re Marriage of
8    Richards, acting as Special             Heggiek, 99 Cal.App.4th 28, 30 fn.3
     Litigation    Counsel    (“Special      (2002) ("The proper place for argument
9    Counsel”) committed no ethical          is in points and authorities, not
     misconduct as alleged.]                 declarations."))
10
                                             Improper legal opinion/ conclusion (See
11                                           Aguilar v. International Longshore-
     [Ms. Girardi is not a real party in     men’s Union, 966 F.2d 443, 447 (9th Cir.     Sustained: _____X_____
12   interest in the Girardi Keese           1992) (noting matters of law are for the
     bankruptcy. The motion for              court’s determination, not that of an        Overruled: ___________
13   reconsideration is essentially a        expert witness)); Crow Tribe of Indians
     disguised motion to disqualify Mr.      v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
14   Richards as counsel for the             1996) (judging the legal merits of a case
     Chapter 7 Bankruptcy Trustee.]          is for the judge, not the attorney arguing
15                                           the case)).

16                                           Improper lay opinion (FRE 701).
     [The motion’s premise is based                                                       Sustained: ___________
17   upon a faulty assumption that           Unqualified expert opinion (FRE 702).
     attorneys may not comment on                                                         Overruled: _____X______
18   cases.]

19
20   [It is also transparent from the                                                     Sustained: _____X_____
     record that Mr. Richards took his
21   role to this Court seriously and                                                     Overruled: ___________
     immediately starting investigating
22   Ms. Girardi. The only rights which
     could be adversely effected if Ms.
23   Girardi’s       thinly      disguised
     disqualification      motion    were
24   granted are those of Elissa Miller,
     Mr. Richards’ only client in this
25   matter.”]

26   Joyce Decl., ¶6, p. 2:14-23.

27   [“Having reviewed many motions          Lacks Foundation (FRE 602),                  Sustained: ___________
     seeking disqualification in my
28   previous role as prosecutor for the     Argumentative (In re Marriage of             Overruled: _____X______
     State Bar Court, I believe counsel      Heggiek, 99 Cal.App.4th 28, 30 fn.3
     for Ms. Girardi’s Motion is             (2002) ("The proper place for argument




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1          Material Objected To In                   Grounds For Objection                   Ruling On Objection
           Erin Joyce Declaration
2    frivolous, lacks merit, and was filed   is in points and        authorities,   not
     for the improper purpose of             declarations."))
3    harassing Mr. Richards and
     causing undue delay.]                   Improper legal opinion/ conclusion (See
4                                            Aguilar v. International Longshore-
                                             men’s Union, 966 F.2d 443, 447 (9th Cir.
5                                            1992) (noting matters of law are for the
     [The motivation of counsel for Ms.      court’s determination, not that of an        Sustained: _____X_____
6    Girardi     is    transparent.     By   expert witness)); Crow Tribe of Indians
     preemptively attacking the Special      v. Racicot, 87 F.3d 1039, 1045 (9th Cir.     Overruled: ___________
7    Counsel who will be and has             1996) (judging the legal merits of a case
     already      started    investigating   is for the judge, not the attorney arguing
8    transactions made involving their       the case)).
     client, Ms. Girardi’s attorneys can
9    undermine the Special Counsel           Improper lay opinion (FRE 701).
     from the outset. If counsel for Ms.
10   Girardi can successfully subvert        Unqualified expert opinion (FRE 702).
     Mr. Richards’ credibility, then any
11   allegation he brings against Ms.
     Girardi will automatically be
     questioned in this Court and in the
12   court of public opinion. Moreover,
     Mr. Richards’s office has spent
13   over 100 hours investigating this
     case, this Court has already
14   issued three 2004 orders, and Mr.
     Richards has interviewed dozens
15   of witnesses. The prejudice to Ms.
     Miller would be staggering and
16   irreversible. This would be an
     outrage, as the only conduct
17   implicated is free speech.”]
18   Joyce Decl., ¶7, p. 2:24-3:7
19   “Counsel for Ms. Girardi does not       Relevance (Fed.R.Evid.402).                  Sustained: ____X_____
     authenticate any of the evidence in
20   Exhibit 1, as necessitated by           Argumentative (In re Marriage of             Overruled: ___________
     Federal Rule of Evidence 901.           Heggiek, 99 Cal.App.4th 28, 30 fn.3
21   Exhibit 1 lacks foundation, and the     (2002) ("The proper place for argument
     Court should disregard it.”             is in points and authorities, not
22                                           declarations."))
     Joyce Decl., ¶8, p. 3:18-20.
23                                           Improper legal opinion/ conclusion (See
                                             Aguilar v. International Longshore-
24                                           men’s Union, 966 F.2d 443, 447 (9th Cir.
                                             1992) (noting matters of law are for the
25                                           court’s determination, not that of an
                                             expert witness)); Crow Tribe of Indians
26                                           v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                             1996) (judging the legal merits of a case
27                                           is for the judge, not the attorney arguing
                                             the case)).
28
                                             Unqualified expert opinion (FRE 702).




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1           Material Objected To In                  Grounds For Objection                   Ruling On Objection
            Erin Joyce Declaration
2    “Moreover,      most     of    these    Lacks Foundation (FRE 602).                  Sustained: ____X_____
     comments if admitted, were one-
3    on-one tweets and replies. These        Speculative (In re Silicone Gel Breast       Overruled: ___________
     Twitter exchanges are no different      Implants Prods. Liability Litig., 318
4    than Mr. Richards answering a           F.Supp.2d 879,890 (C.D. Cal. 2004).
     question walking down the street.
5    If this Court were to adopt the logic   Argumentative (In re Marriage of
     of the Motion, Mr. Richards would       Heggiek, 99 Cal.App.4th 28, 30 fn.3
6    be precluded from answering             (2002) ("The proper place for argument
     questions to any member of the          is in points and authorities, not
7    public concerning the Girardi           declarations."))
     Keese bankruptcy proceeding.
8    This is not law and would               Improper legal opinion/ conclusion (See
     essentially impose on Mr. Richards      Aguilar v. International Longshore-
9    a gag order which this Court has        men’s Union, 966 F.2d 443, 447 (9th Cir.
     already rejected.”                      1992) (noting matters of law are for the
10                                           court’s determination, not that of an
     Joyce Decl., ¶9, p. 4:7-12.             expert witness)); Crow Tribe of Indians
11                                           v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                             1996) (judging the legal merits of a case
                                             is for the judge, not the attorney arguing
12                                           the case)).
13                                           Unqualified expert opinion (FRE 702).
14   “The Motion brings claims and           Lacks Foundation (FRE 602).                  Sustained: ____X_____
     makes allegations that are not
15   based in fact or law. The Motion        Argumentative (In re Marriage of             Overruled: ___________
     requests    relief  based     upon      Heggiek, 99 Cal.App.4th 28, 30 fn.3
16   potential prejudice to a jury, but      (2002) ("The proper place for argument
     counsel for Ms. Girardi know or         is in points and authorities, not
17   should know that there is no jury in    declarations."))
     Bankruptcy Court. See below.
18   Counsel for Ms. Girardi further         Improper legal opinion/ conclusion (See
     know that Mr. Richards’ public          Aguilar v. International Longshore-
19   statements did not violate any          men’s Union, 966 F.2d 443, 447 (9th Cir.
     ethical standards, and that Mr.         1992) (noting matters of law are for the
20   Richards does not have any              court’s determination, not that of an
     connection to the parties in            expert witness)); Crow Tribe of Indians
21   interest.”                              v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                             1996) (judging the legal merits of a case
22   Joyce Decl., ¶10,p. 4:13-17.            is for the judge, not the attorney arguing
                                             the case)).
23
                                             Unqualified expert opinion (FRE 702).
24
     “The Motion does not comply with        Lacks Foundation (FRE 602).                  Sustained: ____X_____
25   the Rules of Bankruptcy or the
     Rules of Evidence. It lacks merit       Speculative (In re Silicone Gel Breast       Overruled: ___________
26   and serves no other purpose but to      Implants Prods. Liability Litig., 318
     delay the proceedings, harass Mr.       F.Supp.2d 879,890 (C.D. Cal. 2004).
27   Richards, and undermine his
     credibility, the credibility of the     Argumentative (In re Marriage of
28   Bankruptcy Court and the Chapter        Heggiek, 99 Cal.App.4th 28, 30 fn.3
     7 Trustee. It violates Federal Rules    (2002) ("The proper place for argument




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1         Material Objected To In                    Grounds For Objection                   Ruling On Objection
           Erin Joyce Declaration
2    of Bankruptcy Procedure, Rule           is in points and        authorities,   not
     9011, and counsel for Ms. Girardi,      declarations."))
3    and Ms. Girardi, should be subject
     to monetary sanctions for attempt       Improper legal opinion/ conclusion (See
4    to delay the proceedings and            Aguilar v. International Longshore-
     silence Mr. Richards, all with          men’s Union, 966 F.2d 443, 447 (9th Cir.
5    inadmissible    and    incomplete       1992) (noting matters of law are for the
     evidence.”                              court’s determination, not that of an
6                                            expert witness)); Crow Tribe of Indians
     Joyce Decl. ¶11,p. 4:18-23.             v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
7                                            1996) (judging the legal merits of a case
                                             is for the judge, not the attorney arguing
8                                            the case)).

9                                            Unqualified expert opinion (FRE 702).

10   “It is my opinion that Mr. Richards     Lacks Foundation (FRE 602).                  Sustained: ___________
     is not in violation of California
11   Rules of Professional Conduct,          Argumentative (In re Marriage of             Overruled: _____X______
     Rule 3.6, in whole or in part, nor is   Heggiek, 99 Cal.App.4th 28, 30 fn.3
12   he in violation of Business and         (2002) ("The proper place for argument
     Professions Code section 6068, in       is in points and authorities, not
     whole or in part.”                      declarations."))
13
     Joyce Decl., ¶15, p. 5:17-19.           Improper legal opinion/ conclusion (See
14                                           Aguilar v. International Longshore-
                                             men’s Union, 966 F.2d 443, 447 (9th Cir.
15                                           1992) (noting matters of law are for the
                                             court’s determination, not that of an
16                                           expert witness)); Crow Tribe of Indians
                                             v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
17                                           1996) (judging the legal merits of a case
                                             is for the judge, not the attorney arguing
18                                           the case)).
19                                           Unqualified expert opinion (FRE 702).
20   “Counsel for Ms. Girardi allege a       Lacks Foundation (FRE 602).                  Sustained: ___________
     violation of Rule 3.6, but the facts
21   in the Motion provide insufficient      Speculative (In re Silicone Gel Breast       Overruled: _____X______
     grounds for the claim. Mr.              Implants Prods. Liability Litig., 318
22   Richards' statements on Twitter         F.Supp.2d 879,890 (C.D. Cal. 2004).
     (or "tweets") have no likelihood of
23   materially      prejudicing      an     Argumentative (In re Marriage of
     adjudicative proceeding in the          Heggiek, 99 Cal.App.4th 28, 30 fn.3
24   Girardi      Keese       bankruptcy     (2002) ("The proper place for argument
     proceeding.”                            is in points and authorities, not
25                                           declarations."))
     Joyce Decl., ¶16, p. 5:20-23.
26                                           Improper legal opinion/ conclusion (See
                                             Aguilar v. International Longshore-
27                                           men’s Union, 966 F.2d 443, 447 (9th Cir.
                                             1992) (noting matters of law are for the
28                                           court’s determination, not that of an
                                             expert witness)); Crow Tribe of Indians




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1         Material Objected To In                  Grounds For Objection                   Ruling On Objection
          Erin Joyce Declaration
2                                          v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                           1996) (judging the legal merits of a case
3                                          is for the judge, not the attorney arguing
                                           the case)).
4
                                           Unqualified expert opinion (FRE 702).
5
     “The proffered evidence was           Speculative (In re Silicone Gel Breast       Sustained: ____X_____
6    deleted according to the motion.      Implants Prods. Liability Litig., 318
     This is probably because it was       F.Supp.2d 879,890 (C.D. Cal. 2004).          Overruled: ___________
7    not accurate and was incomplete.”
                                           Argumentative (In re Marriage of
8    Joyce Decl., ¶16, p. 6:2-3            Heggiek, 99 Cal.App.4th 28, 30 fn.3
                                           (2002) ("The proper place for argument
9                                          is in points and authorities, not
                                           declarations."))
10
     [“Mr.    Richard     was      never   Lacks Foundation (FRE 602).                  Sustained: ____X_____
11   guaranteed any interview would be
     aired nor did he care. Attorneys      Speculative (In re Silicone Gel Breast       Overruled: ___________
12   are frequently interviewed by         Implants Prods. Liability Litig., 318
     reporters for knowledge. Mr.          F.Supp.2d 879,890 (C.D. Cal. 2004).
13   Richards has been a well-known
     attorney for almost 30 years in       Argumentative (In re Marriage of
     Southern California. Based upon       Heggiek, 99 Cal.App.4th 28, 30 fn.3
14   my inquiry, Mr. Richards was not      (2002) ("The proper place for argument
     paid for any work nor hired for any   is in points and authorities, not
15   documentary by anyone for any         declarations."))
     show. In his recorded comments
16   which were not aired for the          Improper legal opinion/ conclusion (See
     documentary, Mr. Richards does        Aguilar v. International Longshore-
17   not specifically address Ms.          men’s Union, 966 F.2d 443, 447 (9th Cir.
     Girardi, her character, or her        1992) (noting matters of law are for the
18   personality.   He     makes      no   court’s determination, not that of an
     disparaging or untrue comments        expert witness)); Crow Tribe of Indians
19   about Ms. Girardi or her interests    v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     in the Girardi Keese bankruptcy       1996) (judging the legal merits of a case
20   matter. His comments are limited      is for the judge, not the attorney arguing
     to Ms. Girardi’s retention of legal   the case)).
21   counsel, which was caused by Mr.
     Mastan’s motion to withdraw filed     Improper lay opinion (FRE 701).
22   in the Girardi Keese bankruptcy
     proceeding.]                          Unqualified expert opinion (FRE 702).
23
24
     [To suggest an attorney who is on                                                  Sustained: ___________
25   a case cannot publicly comment
     on public filings in the case is                                                   Overruled: _____X______
26   ludicrous, and any suggestion that
     such conduct is against the law is
27   disingenuous.]

28




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1          Material Objected To In                   Grounds For Objection                   Ruling On Objection
           Erin Joyce Declaration
2    [Ms. Girardi’s counsel actually left                                                 Sustained: ____X_____
     out a tweet where Mr. Richards
3    defended Ms. Girardi’s prior                                                         Overruled: ___________
     counsel Mr. Mastan and said he
4    was a good attorney and didn’t
     make any errors in response to a
5    comment accusing Ms. Girardi’s
     prior counsel of making a mistake.
6    Ms. Girardi’s papers tried to submit
     misleading conclusions about Mr.
7    Richards, falsely implying he was
     being negative towards her prior
8    counsel when the opposite was
     true.”]
9
     Joyce Decl., ¶16, p. 6:5-21
10
     “Another     example      of    this    Lacks Foundation (FRE 602).                  Sustained: ____X_____
11   misleading    portrayal    of   Mr.
     Richards' comments about this           Relevance (Fed.R.Evid.402)                   Overruled: ___________
12   case is Mr. Richard’s actual public
     comment for a newspaper relating        Hearsay (FRE 802)
     to Ms. Girardi’s prior counsel. Mr.
13   Richards is a frequent contributor      Argumentative (In re Marriage of
     to the Daily Journal, a newspaper       Heggiek, 99 Cal.App.4th 28, 30 fn.3
14   read by attorneys. In the June 16,      (2002) ("The proper place for argument
     2021 edition, Mr. Richards, in          is in points and authorities, not
15   response to a question about Mr.        declarations."))
     Mastan’s withdrawal said, “he
16   could not comment specifically on
     Mr. Mastan’s departure.”
17
     Joyce Decl., ¶17, p. 6:22-26
18
     “The selective editing of the tweets    Lacks Foundation (FRE 602).                  Sustained: ___________
19   submitted by Ms. Girardi’s counsel
     violates Rule of Professional           Speculative (In re Silicone Gel Breast       Overruled: _____X______
20   Conduct 3.3 (Candor Toward the          Implants Prods. Liability Litig., 318
     Tribunal) and Business and              F.Supp.2d 879,890 (C.D. Cal. 2004).
21   Professions Code section 6068(d)
     in my opinion. The intervening          Argumentative (In re Marriage of
22   omitted tweets are very easy to         Heggiek, 99 Cal.App.4th 28, 30 fn.3
     find     and     apparently      were   (2002) ("The proper place for argument
23   intentionally omitted. None of Mr.      is in points and authorities, not
     Richards’       statements        are   declarations."))
24   prejudicial to any party, to counsel,
     or to the courts. Rule 3.6 (a).”        Improper legal opinion/ conclusion (See
25                                           Aguilar v. International Longshore-
     Joyce Decl., ¶18, p. 6:27-7:3           men’s Union, 966 F.2d 443, 447 (9th Cir.
26                                           1992) (noting matters of law are for the
                                             court’s determination, not that of an
27                                           expert witness)); Crow Tribe of Indians
                                             v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
28                                           1996) (judging the legal merits of a case
                                             is for the judge, not the attorney arguing




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1         Material Objected To In                     Grounds For Objection                   Ruling On Objection
          Erin Joyce Declaration
2                                             the case)).

3                                             Unqualified expert opinion (FRE 702).

4    “Mr. Richards’ comments were             Lacks Foundation (FRE 602).                  Sustained: ___________
     permitted by Rule of Professional
5    Conduct 3.6(b), to the extent            Argumentative (In re Marriage of             Overruled: _____X______
     permitted     by    Business       and   Heggiek, 99 Cal.App.4th 28, 30 fn.3
6    Professions Code section 6068(e),        (2002) ("The proper place for argument
     to state the claim, offense or           is in points and authorities, not
7    defense involved, and, except            declarations."))
     when prohibited by law, the
8    identity of the persons involved;        Improper legal opinion/ conclusion (See
     information contained in a public        Aguilar v. International Longshore-
9    record; that an investigation of a       men’s Union, 966 F.2d 443, 447 (9th Cir.
     matter is in progress; and, among        1992) (noting matters of law are for the
10   other things, the scheduling or          court’s determination, not that of an
     result of any step in litigation.”       expert witness)); Crow Tribe of Indians
11                                            v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     Joyce Decl., ¶19, p. 7:6-10              1996) (judging the legal merits of a case
12                                            is for the judge, not the attorney arguing
                                              the case)).
13                                            Unqualified expert opinion (FRE 702).
14   “Mr. Richards has not provided the       Lacks Foundation (FRE 602).                  Sustained: ____X_____
     public with any information that is
15   not already publicly available.”         Speculative (In re Silicone Gel Breast       Overruled: ___________
                                              Implants Prods. Liability Litig., 318
16   Joyce Decl., ¶20, p. 7:14-15             F.Supp.2d 879,890 (C.D. Cal. 2004).
17                                            Best evidence rule (FRE 1002)
18                                            Argumentative (In re Marriage of
                                              Heggiek, 99 Cal.App.4th 28, 30 fn.3
19                                            (2002) ("The proper place for argument
                                              is in points and authorities, not
20                                            declarations."))
21   “As      stated    above,      these     Lacks Foundation (FRE 602).                  Sustained: ____X_____
     interchanges are essentially one-
22   on-one dialogue, if true and             Speculative (In re Silicone Gel Breast       Overruled: ___________
     accurate and admissible. The             Implants Prods. Liability Litig., 318
23   compilation as presented by Ms.          F.Supp.2d 879,890 (C.D. Cal. 2004).
     Girardi’s counsel is a distortion of
24   the     impact   these    individual     Argumentative (In re Marriage of
     interchanges can have on the             Heggiek, 99 Cal.App.4th 28, 30 fn.3
25   general public. The order sought         (2002) ("The proper place for argument
     by Ms. Girardi would patently            is in points and authorities, not
26   violate     Mr.   Richards’     First    declarations."))
     Amendment rights, hurt his client
27   Ms. Miller, cause Mr. Richards’          Improper legal opinion/ conclusion (See
     firm to suffer a large time capital      Aguilar v. International Longshore-
28   loss and aid the recipient of the        men’s Union, 966 F.2d 443, 447 (9th Cir.
     fraudulent            conveyances        1992) (noting matters of law are for the




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1          Material Objected To In                  Grounds For Objection                   Ruling On Objection
           Erin Joyce Declaration
2    (potentially over $20,000,000),        court’s determination, not that of an
     Erika Girardi. And that is the clear   expert witness)); Crow Tribe of Indians
3    motivation of the Motion, to help      v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     Ms. Girardi escape liability for the   1996) (judging the legal merits of a case
4    significant fraudulent transfers       is for the judge, not the attorney arguing
     received from the bankruptcy           the case)).
5    estate. To force Ms. Miller to start
     over is exactly what Ms. Girardi's     Improper lay opinion (FRE 701).
6    counsel would hope for in this de
     facto disqualification motion.”        Unqualified expert opinion (FRE 702).
7
     Joyce Decl., ¶20, p. 7:24-8:5
8
     “There has not been inflammatory       Lacks Foundation (FRE 602).                  Sustained: ____X_____
9    or prejudicial publicity about this
     proceeding. As stated in the           Speculative (In re Silicone Gel Breast       Overruled: ___________
10   following paragraphs, any and all      Implants Prods. Liability Litig., 318
     media coverage and its allegedly       F.Supp.2d 879,890 (C.D. Cal. 2004).
11   prejudicial effect is moot because
     this matter will almost assuredly      Hearsay (FRE 802)
12   not proceed to a jury trial. The
     tweets attributed to Mr. Richards      Argumentative (In re Marriage of
     are primarily factual in nature, and   Heggiek, 99 Cal.App.4th 28, 30 fn.3
13   consist     primarily   of   posting   (2002) ("The proper place for argument
     documents filed with the court --      is in points and authorities, not
14   the motion to withdraw. Posting        declarations."))
     publicly available court records is
15   not prejudicial to any party in        Improper legal opinion/ conclusion (See
     interest. These are the facts of the   Aguilar v. International Longshore-
16   case. The average person can’t         men’s Union, 966 F.2d 443, 447 (9th Cir.
     access Pacer. Mr. Richard’s            1992) (noting matters of law are for the
17   postings invite tips and leads by      court’s determination, not that of an
     followers and public. This is          expert witness)); Crow Tribe of Indians
18   specifically       allowed       and   v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     contemplated by the rules.”            1996) (judging the legal merits of a case
19                                          is for the judge, not the attorney arguing
     Joyce Decl., ¶22, p. 8:16-23           the case)).
20
                                            Improper lay opinion (FRE 701).
21
                                            Unqualified expert opinion (FRE 702).
22
     “Mr. Richards’ personal unverified     Lacks Foundation (FRE 602).                  Sustained: ____X_____
23   Twitter    account     and    public
     statements      were     not    only   Relevance (Fed.R.Evid.402)                   Overruled: ___________
24   protected under the Free Speech
     Clauses of the First Amendment         Speculative (In re Silicone Gel Breast
25   and the California Constitution, but   Implants Prods. Liability Litig., 318
     they also served the purpose of        F.Supp.2d 879,890 (C.D. Cal. 2004).
26   updating the public at-large of the
     Girardi Keese bankruptcy and kept      Argumentative (In re Marriage of
27   the many creditors updated about       Heggiek, 99 Cal.App.4th 28, 30 fn.3
     the status of the case.”               (2002) ("The proper place for argument
28                                          is in points and authorities, not
     Joyce Decl., ¶24, p. 9:5-8             declarations."))




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1         Material Objected To In                       Grounds For Objection                   Ruling On Objection
          Erin Joyce Declaration
2                                               Improper legal opinion/ conclusion (See
                                                Aguilar v. International Longshore-
3                                               men’s Union, 966 F.2d 443, 447 (9th Cir.
                                                1992) (noting matters of law are for the
4                                               court’s determination, not that of an
                                                expert witness)); Crow Tribe of Indians
5                                               v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                                1996) (judging the legal merits of a case
6                                               is for the judge, not the attorney arguing
                                                the case)).
7
                                                Improper lay opinion (FRE 701).
8
                                                Unqualified expert opinion (FRE 702).
9
     “Mr. Richards was exercising his           Lacks Foundation (FRE 602).                  Sustained: ____X_____
10   right to freedom of speech and
     press under the U.S. Constitution          Speculative (In re Silicone Gel Breast       Overruled: ___________
11   and the California Constitution. He        Implants Prods. Liability Litig., 318
     did not make any false statements,         F.Supp.2d 879,890 (C.D. Cal. 2004).
12   and he did not act with malicious
     intent. He was sharing information         Argumentative (In re Marriage of
     that was already publicly available        Heggiek, 99 Cal.App.4th 28, 30 fn.3
13   in the Girardi Keese bankruptcy.           (2002) ("The proper place for argument
     Any legal opinions rendered were           is in points and authorities, not
14   clearly opinions, did not violate Mr.      declarations."))
     Richards’ duties as Special
15   Counsel, and all were protected            Improper legal opinion/ conclusion (See
     free speech. Ms. Girardi has been          Aguilar v. International Longshore-
16   afforded the same protections and          men’s Union, 966 F.2d 443, 447 (9th Cir.
     expresses her opinions via similar         1992) (noting matters of law are for the
17   media outlets. Ms. Girardi’s motion        court’s determination, not that of an
     drew more attention to her than            expert witness)); Crow Tribe of Indians
18   anything Mr. Richards has ever             v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     posted. Ms. Girardi chose to               1996) (judging the legal merits of a case
19   appear on a network television             is for the judge, not the attorney arguing
     show each week and has                     the case)).
20   constantly sought media attention.
     Ms. Girardi cannot control the             Improper lay opinion (FRE 701).
21   marketplace       of     information
     including an attorneys’ low impact         Unqualified expert opinion (FRE 702).
22   opinions on his personal Twitter
     account responding to members of
23   the public.”

24   Joyce Decl., ¶25, p. 9:12-22

25   “In this Court, all jury trials are sent   Lacks Foundation (FRE 602).                  Sustained: ____X_____
     to the District Court. There is no
26   pending jury matter before the             Speculative (In re Silicone Gel Breast       Overruled: ___________
     Court. It is complete conjecture           Implants Prods. Liability Litig., 318
27   that there will be a jury trial and in     F.Supp.2d 879,890 (C.D. Cal. 2004).
     a pool of five counties with over
28   15,000,000 residents, it is highly         Argumentative (In re Marriage of
     unlikely that the first 12 potential       Heggiek, 99 Cal.App.4th 28, 30 fn.3




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1          Material Objected To In                   Grounds For Objection                   Ruling On Objection
           Erin Joyce Declaration
2    jurors will ever have heard of          (2002) ("The proper place for argument
     Attorney Ronald Richards or read        is in points and authorities, not
3    any of his tweets and replies.”         declarations."))

4    Joyce Decl., ¶26, p. 9:28-10:4          Improper legal opinion/ conclusion (See
                                             Aguilar v. International Longshore-
5                                            men’s Union, 966 F.2d 443, 447 (9th Cir.
                                             1992) (noting matters of law are for the
6                                            court’s determination, not that of an
                                             expert witness)); Crow Tribe of Indians
7                                            v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                             1996) (judging the legal merits of a case
8                                            is for the judge, not the attorney arguing
                                             the case)).
9
                                             Improper lay opinion (FRE 701).
10
                                             Unqualified expert opinion (FRE 702).
11
     “Mr. Richards never disparaged          Lacks Foundation (FRE 602).                  Sustained: ____X_____
12   Ms. Girardi or her integrity, and
     certainly did not and could not         Speculative (In re Silicone Gel Breast       Overruled: ___________
     prejudice a jury pool against her. It   Implants Prods. Liability Litig., 318
13   is almost impossible for anyone to      F.Supp.2d 879,890 (C.D. Cal. 2004).
     influence a potential jury pool in
14   this bankruptcy matter because          Argumentative (In re Marriage of
     there is almost no chance there         Heggiek, 99 Cal.App.4th 28, 30 fn.3
15   will be a jury. Counsel for Ms.         (2002) ("The proper place for argument
     Girardi       misinterpret        the   is in points and authorities, not
16   Constitution, the Bill of Rights, the   declarations."))
     Federal Rules of Procedure, and
17   the Federal Rules of Civil              Improper legal opinion/ conclusion (See
     Procedure.”                             Aguilar v. International Longshore-
18                                           men’s Union, 966 F.2d 443, 447 (9th Cir.
     Joyce Decl., ¶28, p. 10:11-15           1992) (noting matters of law are for the
19                                           court’s determination, not that of an
                                             expert witness)); Crow Tribe of Indians
20                                           v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                             1996) (judging the legal merits of a case
21                                           is for the judge, not the attorney arguing
                                             the case)).
22
                                             Improper lay opinion (FRE 701).
23
                                             Unqualified expert opinion (FRE 702).
24
     “Mr. Richards, along with many          Lacks Foundation (FRE 602).                  Sustained: ____X_____
25   other       practitioners,     was
     interviewed for the program. But        Relevance (Fed.R.Evid.402)                   Overruled: ___________
26   counsel for Mr. Girardi did not
     inform the Court that Mr. Richards’     Speculative (In re Silicone Gel Breast
27   interview was cut and did not air       Implants Prods. Liability Litig., 318
     on television. This assumes Mr.         F.Supp.2d 879,890 (C.D. Cal. 2004).
28   Richards even knew about his
     interview being cut until AFTER he      Argumentative    (In   re   Marriage    of




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1        Material Objected To In                      Grounds For Objection                   Ruling On Objection
          Erin Joyce Declaration
2    was appointed.”                          Heggiek, 99 Cal.App.4th 28, 30 fn.3
                                              (2002) ("The proper place for argument
3    Joyce Decl., ¶30, p. 10:24-27            is in points and authorities, not
                                              declarations."))
4
     “Mr. Richards’ interview about the       Lacks Foundation (FRE 602).                  Sustained: ____X_____
5    Girardi Keese firm is not a violation
     of Federal Rules of Bankruptcy           Speculative (In re Silicone Gel Breast       Overruled: ___________
6    Procedure, Rule 2014 because Mr.         Implants Prods. Liability Litig., 318
     Richards      had     no    financial,   F.Supp.2d 879,890 (C.D. Cal. 2004).
7    personal,       or       professional
     connection with any of the parties.      Argumentative (In re Marriage of
8    There would be no reason to              Heggiek, 99 Cal.App.4th 28, 30 fn.3
     disclose an interview. Mr. Richards      (2002) ("The proper place for argument
9    has no connection to any                 is in points and authorities, not
     petitioning creditor that would be       declarations."))
10   disclosable. My review of the
     pleadings in this case confirmed         Improper legal opinion/ conclusion (See
11   that. An interview to a journalist is    Aguilar v. International Longshore-
     not a connection to anyone. Mr.          men’s Union, 966 F.2d 443, 447 (9th Cir.
12   Richards has never represented or        1992) (noting matters of law are for the
     met any of the petitioning               court’s determination, not that of an
     creditors. Mr. Richard was not           expert witness)); Crow Tribe of Indians
13   required     to    disclose     press    v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     interviews before the application.       1996) (judging the legal merits of a case
14   The fact that a petitioning creditor     is for the judge, not the attorney arguing
     may have been interviewed by the         the case)).
15   same journalist’s organization
     does not make Mr. Richards and           Improper lay opinion (FRE 701).
16   that creditor connected. There is
     no evidence in the Motion to an          Unqualified expert opinion (FRE 702).
17   actual aired interview, so it has no
     weight whatsoever in my opinion
18   as to disclosure requirements.”
19   Joyce Decl., ¶31, p. 11:1-11
20   “Counsel for Ms. Girardi are using       Lacks Foundation (FRE 602).                  Sustained: ____X_____
     Rule 2014 as a covert way of
21   disqualifying Mr. Richards as            Argumentative (In re Marriage of             Overruled: ___________
     Special Counsel.”                        Heggiek, 99 Cal.App.4th 28, 30 fn.3
22                                            (2002) ("The proper place for argument
     Joyce Decl., ¶32, p. 11:12-13            is in points and authorities, not
23                                            declarations."))

24                                            Improper legal opinion/ conclusion (See
                                              Aguilar v. International Longshore-
25                                            men’s Union, 966 F.2d 443, 447 (9th Cir.
                                              1992) (noting matters of law are for the
26                                            court’s determination, not that of an
                                              expert witness)); Crow Tribe of Indians
27                                            v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                              1996) (judging the legal merits of a case
28                                            is for the judge, not the attorney arguing
                                              the case)).




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1         Material Objected To In                     Grounds For Objection                   Ruling On Objection
          Erin Joyce Declaration
2
     “The argument is false. Moreover,        Lacks Foundation (FRE 602).                  Sustained: ____X_____
3    Ms. Girardi is not a party to this
     proceeding and lacks standing to         Argumentative (In re Marriage of             Overruled: ___________
4    seek disqualification.”                  Heggiek, 99 Cal.App.4th 28, 30 fn.3
                                              (2002) ("The proper place for argument
5    Joyce Decl., ¶33, p. 11:16-17            is in points and authorities, not
                                              declarations."))
6
                                              Improper legal opinion/ conclusion (See
7                                             Aguilar v. International Longshore-
                                              men’s Union, 966 F.2d 443, 447 (9th Cir.
8                                             1992) (noting matters of law are for the
                                              court’s determination, not that of an
9                                             expert witness)); Crow Tribe of Indians
                                              v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
10                                            1996) (judging the legal merits of a case
                                              is for the judge, not the attorney arguing
11                                            the case)).

12                                            Unqualified expert opinion (FRE 702).

13   “Ms. Girardi is not a party to this      Lacks Foundation (FRE 602).                  Sustained: ____X_____
     proceeding. She is not a named
     party. She is not a creditor. Her        Argumentative (In re Marriage of             Overruled: ___________
14   current status is “party-in-interest”    Heggiek, 99 Cal.App.4th 28, 30 fn.3
     without further explanation of what      (2002) ("The proper place for argument
15   that interest entails, but she has no    is in points and authorities, not
     real or actual interest in the Girardi   declarations."))
16   Keese bankruptcy proceeding. As
     such, she has no legal right to          Improper legal opinion/ conclusion (See
17   raise or enforce a claim.”               Aguilar v. International Longshore-
                                              men’s Union, 966 F.2d 443, 447 (9th Cir.
18   Joyce Decl., ¶34, p. 12:1-4              1992) (noting matters of law are for the
                                              court’s determination, not that of an
19                                            expert witness)); Crow Tribe of Indians
                                              v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
20                                            1996) (judging the legal merits of a case
                                              is for the judge, not the attorney arguing
21                                            the case)).
22                                            Unqualified expert opinion (FRE 702).

23   “Ms. Girardi has no standing on          Lacks Foundation (FRE 602).                  Sustained: ____X_____
     California law to disqualify her
24   adversaries’ counsel of choice.          Best evidence rule (FRE 1002)                Overruled: ___________
     This is clear since 2016. This case
25   should have been cited by Ms.            Hearsay (FRE 802)
     Girardi. Furthermore, as this Court
26   said at the June 8, 2021 hearing, if     Argumentative (In re Marriage of
     Ms. Girardi does not like Mr.            Heggiek, 99 Cal.App.4th 28, 30 fn.3
27   Richard’s comments, this Court is        (2002) ("The proper place for argument
     not the right place to go to seek        is in points and authorities, not
28   redress. Clearly Ms. Miller’s right      declarations."))
     to counsel of choice is the most




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1         Material Objected To In                    Grounds For Objection                   Ruling On Objection
           Erin Joyce Declaration
2    sacred right at play and Mr.            Improper legal opinion/ conclusion (See
     Richards’ and his firm’s right to       Aguilar v. International Longshore-
3    work. Mr. Richards’ firm has a          men’s Union, 966 F.2d 443, 447 (9th Cir.
     valid fee agreement and has             1992) (noting matters of law are for the
4    performed with alacrity and             court’s determination, not that of an
     effectiveness.”                         expert witness)); Crow Tribe of Indians
5                                            v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
     Joyce Decl., ¶34, p. 12:8-14            1996) (judging the legal merits of a case
6                                            is for the judge, not the attorney arguing
                                             the case)).
7
                                             Unqualified expert opinion (FRE 702).
8
     “Mr. Richards committed no              Lacks Foundation (FRE 602).                  Sustained: ___________
9    breach of ethical duties pursuant
     to either the State Bar Act or the      Argumentative (In re Marriage of             Overruled: _____X______
10   California Rules of Professional        Heggiek, 99 Cal.App.4th 28, 30 fn.3
     Conduct. He should be allowed to        (2002) ("The proper place for argument
11   remain Special Counsel.”                is in points and authorities, not
                                             declarations."))
12   Joyce Decl., ¶35, p. 12:15-17
                                             Improper legal opinion/ conclusion (See
                                             Aguilar v. International Longshore-
13                                           men’s Union, 966 F.2d 443, 447 (9th Cir.
                                             1992) (noting matters of law are for the
14                                           court’s determination, not that of an
                                             expert witness)); Crow Tribe of Indians
15                                           v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
                                             1996) (judging the legal merits of a case
16                                           is for the judge, not the attorney arguing
                                             the case)).
17
                                             Unqualified expert opinion (FRE 702).
18
     “Counsel for Ms. Girardi filed the      Lacks Foundation (FRE 602).                  Sustained: ____X_____
19   Motion for the sole purpose of
     delaying       the     proceedings,     Speculative (In re Silicone Gel Breast       Overruled: ___________
20   harassing Mr. Richards, and             Implants Prods. Liability Litig., 318
     casting doubt upon the credibility      F.Supp.2d 879,890 (C.D. Cal. 2004).
21   of    Mr.    Richards    and      the
     bankruptcy proceeding as a whole.       Argumentative (In re Marriage of
22   If counsel for Ms. Girardi are          Heggiek, 99 Cal.App.4th 28, 30 fn.3
     successful and the Court removes        (2002) ("The proper place for argument
23   Mr. Richards as Special Counsel         is in points and authorities, not
     and replaces him with a new             declarations."))
24   Special Counsel, rest assured
     counsel for Ms. Girardi will file the   Improper legal opinion/ conclusion (See
25   same motions against the next           Aguilar v. International Longshore-
     Special Counsel. It would cause         men’s Union, 966 F.2d 443, 447 (9th Cir.
26   an irreversible disruption in the       1992) (noting matters of law are for the
     investigation that only benefits the    court’s determination, not that of an
27   target. It is like the bank robber      expert witness)); Crow Tribe of Indians
     complaining the opposing counsel        v. Racicot, 87 F.3d 1039, 1045 (9th Cir.
28   commented on the robbery so a           1996) (judging the legal merits of a case
     new attorney is needed. Mr.             is for the judge, not the attorney arguing




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1          Material Objected To In                 Grounds For Objection           Ruling On Objection
           Erin Joyce Declaration
2    Richards has been investigating       the case)).
     this case for many months leading
3    up to the appointment. Mr.            Improper lay opinion (FRE 701).
     Richards     is   not   a   public
4    prosecutor. He is allowed to          Unqualified expert opinion (FRE 702).
     comment on cases. He is a private
5    attorney. Counsel for Ms. Girardi
     seeks to delay or stop any
6    investigation into any allegations
     that Ms. Girardi was in receipt of
7    fraudulent transfers. This Motion
     serves only this purpose, and the
8    Court should deny the Motion.”

9    Joyce Decl., ¶36, p. 12:19-13:2

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1    4.      a.     “Chapter 7 Trustee’s Evidentiary Objections To The Declaration Of Evan C.
     Borges And Exhibit 3 Attached Thereto In Support Of Motion For Reconsideration” (Docket No.
2    519) filed by Special Counsel for Elissa D. Miller, Chapter 7 Trustee. THIS RELATES TO 515-
     1.
3
               b.    No response was filed to Docket No. 519.
4
      Obj #              Borges Declaration:                 Trustee Objection:               Ruling:
5     (pg:
      line)
6    #1         “Attached hereto as Exhibit 3 is a         Fed. R. Evid. 402, 701,     [X]
     ¶2         compilation of Ronald Richards’s (“Mr.     802                         Sustained
7    45:9-11    Richards”) tweets and images from Mr.      There      is   neither
                Richards’s Twitter page regarding this     foundation nor personal     []
8               proceeding and individuals involved in     knowledge            for    overruled
                this proceeding dating back to July 16,    declarant’s assertions.
9               2021.”                                     The statements and
                                                           exhibit       3     are
10                                                         inadmissible hearsay.
                                                           There is no evidentiary
11                                                         support and declarant
                                                           cannot testify as to
12                                                         what a third party said
                                                           out of court.
13
     #2         “The images comprising Exhibit 3 are       Fed. R. Evid. 402, 701,     [X]
14   ¶3         true and accurate depictions of Mr.        802                         Sustained
     45:12-     Richards’s tweets and Twitter profile.”    There      is    neither
15   13                                                    foundation nor personal     []
                                                           knowledge             for   overruled
16                                                         declarant’s assertions.

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